 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK



 UNITED STATES OF AMERICA,


           - v. -                                                  No. S2 16 Cr. 776 (VEC)

 JOSEPH PERCOCO, a/k/a “Herb,”
 PETER GALBRAITH KELLY, JR., a/k/a “Braith,”
 STEVEN AIELLO, and
 JOSEPH GERARDI,

                                 Defendants.



                    DEFENDANTS’ PROPOSED JUROR QUESTIONNAIRE


JUROR NUMBER _______

PLEASE PRINT ALL ANSWERS LEGIBLY IN BLUE OR BLACK INK.

Introduction

          The purpose of this questionnaire is to provide information to the Court and to the

attorneys in this case—both the prosecutors and the defense attorneys—so that they can

determine whether you can serve as a fair and impartial juror in this case. You must give true,

candid, and complete answers to every question. This is a criminal case, entitled United States

of America versus Joseph Percoco, Peter Galbraith Kelly, Jr., Steven Aiello, and Joseph Gerardi.

Briefly summarized, the Government has charged the defendants with public corruption offenses

involving the New York State Governor’s Office, including allegations of bribery and extortion.

The defendants have pled not guilty and each one is presumed innocent unless and until proven

guilty.
JUROR NUMBER _______

       Do not discuss this questionnaire or your answers with anyone, including Court personnel

and your fellow potential jurors. Please do not leave any questions unanswered. If you do not

understand a question, write that on the questionnaire and we will discuss it with you later.

Please write your juror number on the top of each page of the questionnaire. Do not write your

name on the document. There is an extra page at the back of the questionnaire if you need

additional space for your answers. Do not write on the back of any page of the questionnaire.


       There are no “right” or “wrong” answers; there are only truthful answers. You are sworn

to give truthful answers, so you must provide full and accurate information in response to each

question.


NOTE: Do not do any research regarding this case. That means you should not “look up” the

case or any of the names mentioned in the questionnaire on the Internet or in any other manner.

Do not discuss this case, this questionnaire or your answers to the questions with anyone—not

your fellow jurors, your family, your employer, or your friends.




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Questions

      1.      Do you or does any member of your family or a close friend personally know or
      have / have had any dealings with any of the following individuals?

      a. The defendants: Joseph Percoco, Peter Galbraith Kelly, Jr., Steven Aiello, or Joseph
         Gerardi?

                  􀜆 Yes              􀜆 No

      If yes, whom do you know?




      b.    The Acting U.S. Attorney for the Southern District of New York, Joon H. Kim or
      anyone else who works for or used to work for the U.S. Attorney’s Office?

                  􀜆 Yes              􀜆 No

      If yes, whom do you know?




      c.       Any of the Assistant United States Attorneys who are prosecuting this case?

            Janis Echenberg                 􀜆 Yes          􀜆 No

            David Zhou                      􀜆 Yes          􀜆 No

            Robert Boone                    􀜆 Yes          􀜆 No

            Matthew Podolsky                􀜆 Yes          􀜆 No


      If yes, whom do you know?




      d.       Any of the defense attorneys or law firms who are representing the defendants:

            Barry A. Bohrer of Schulte Roth & Zabel LLP                   􀜆 Yes          􀜆 No
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        Michael L. Yaeger of Schulte Roth & Zabel LLP                  􀜆 Yes          􀜆 No

        Andrew D. Gladstein of Schulte Roth & Zabel LLP                􀜆 Yes          􀜆 No

        Abigail F. Coster of Schulte Roth & Zabel LLP                  􀜆 Yes          􀜆 No

        Daniel M. Gitner of Lankler Siffert & Wohl LLP                 􀜆 Yes          􀜆 No

        Jun Xiang of Lankler Siffert & Wohl LLP                        􀜆 Yes          􀜆 No

        Samantha J. Reitz of Lankler Siffert & Wohl LLP                􀜆 Yes          􀜆 No

        Rachel S. Berkowitz of Lankler Siffert & Wohl LLP              􀜆 Yes          􀜆 No

        Stephen R. Coffey of O’Connell & Aronowitz                     􀜆 Yes          􀜆 No

        Scott W. Iseman of O’Connell & Aronowitz                       􀜆 Yes          􀜆 No

        Milton L. Williams of Walden Macht & Haran LLP                 􀜆 Yes          􀜆 No

        Avni P. Patel of Walden Macht & Haran LLP                      􀜆 Yes          􀜆 No


     If yes, whom do you know?




     e.    The United States District Court Judge who is presiding over this case, Valerie
     Caproni, or any of her staff?

                􀜆 Yes             􀜆 No

     If yes, whom do you know?



     If you answered “yes” to any of the above questions, please explain how you know the
     individual(s):




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     If you answered “yes” to any of the above questions, please state whether your
     relationship with that person might affect your ability to be fair and impartial in this case:




     2.     Before today, had you read, seen, or heard anything about criminal charges being
     brought against Joseph Percoco, Peter Galbraith Kelly, Jr., Steven Aiello, and Joseph
     Gerardi?

                􀜆 Yes               􀜆 No

     If yes, what do you recall?




     If yes, where or from whom did you hear about the case (e.g., a friend, the newspaper, a
     website)?




     3.      Before today, had you read, seen, or heard anything about allegations of bribery
     or corruption against anyone connected to the New York State Governor’s Office?

                􀜆 Yes               􀜆 No

     If yes, what do you recall?




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     If yes, where or from whom did you hear about these allegations?




     4.      Based on anything that you might have read, seen or heard about this case or
     about any allegations of bribery or corruption related to the Governor’s Office, have you
     formed any opinion about any of the defendants that might make it difficult for you to be
     a fair and impartial juror in this case?

                􀜆 Yes              􀜆 No

                􀜆 Not applicable; I have heard nothing about this case.


     If yes, please explain:




     5.      Based on anything you have read, seen, or heard about this case or about any
     allegations of bribery or corruption related to the Governor’s Office, would you be able
     to follow the Court’s instruction to put that information out of your mind and decide this
     case based only on the evidence presented at trial?

                􀜆 Yes              􀜆 No

                􀜆 Not applicable; I have heard nothing about this case.

     If no, please explain:


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     6.     Have you followed the news about the trials (last year) of former Speaker of the
     New York State Assembly Sheldon Silver and/or former Majority Leader of the New
     York State Senate Dean Skelos, including the fact that their convictions were overturned?

                􀜆 Yes              􀜆 No

     If yes, do you have any feelings about anything you have seen, read or heard?




     If yes, please explain:




     7.     Is there anything about the nature of this case, including the fact that it involves
     accusations of bribery and corruption by someone associated with the Governor’s Office,
     that would make it difficult for you to be a fair and impartial juror?

                􀜆 Yes              􀜆 No

     If yes, please explain:




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     8.      Do you have any opinions about politicians, government officials, or anyone else
     who works in government that may affect your ability to be a fair and impartial juror in
     this case?

                􀜆 Yes               􀜆 No

     If yes, please explain:




     9.      Have you or has anyone close to you ever made campaign contributions to
     political candidates?

                􀜆 Yes               􀜆 No

     10.     Do you have any feelings about individuals and companies that make relatively
     large campaign contributions to political candidates?

                􀜆 Yes               􀜆 No

     If yes, please explain:




     11.    Do you have any opinions about the U.S. Attorney’s Office or prosecutors
     generally that might make it difficult for you to be a fair and impartial juror in this case?

                􀜆 Yes               􀜆 No

     If yes, please explain:




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     12.    Do you have any opinions about criminal defense attorneys generally that might
     make it difficult for you to be a fair and impartial juror in this case?

                􀜆 Yes              􀜆 No

     If yes, please explain:




     13.    Do you have any opinions about lobbyists—people or groups who advocate with
     government officials on behalf of special interest groups with the intention of influencing
     decisions made by the government—that might make it difficult for you to be a fair and
     impartial juror?

                􀜆 Yes              􀜆 No

     If yes, please explain:




     14.     Do you or does anyone close to you work in the energy industry, or in any field
     related to the environment and environmental resources?

                􀜆 Yes              􀜆 No

     If yes, please explain:

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JUROR NUMBER _______




     15.    Do you or does anyone close to you work in the construction or real estate
     industry, or in any field related to those industries?

                􀜆 Yes               􀜆 No

     If yes, please explain:




     16.      Have you ever had a negative experience personally with any government official
     (local, state, or federal) or someone from a government official’s office?

                􀜆 Yes               􀜆 No

     If yes, please explain:




     17.    Do you or does any member of your family or a close friend know or have / have
     had dealings with:

        [List to be provided by all parties prior to trial]     􀜆 Yes          􀜆 No

     If yes, please indicate whom you know and how you know them:




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JUROR NUMBER _______




     18.   Do you have any religious or ethical beliefs that would prevent you from passing
     judgment on another person?

                􀜆 Yes              􀜆 No

     If yes, please explain:




     19.    Do you have any difficulty with your eyesight or hearing, or have any medical
     condition that would make it difficult for you to serve on a jury?

                􀜆 Yes              􀜆 No

     If yes, please explain:




     20.    Do you have any difficulty reading or understanding the English language?

                􀜆 Yes              􀜆 No

     21.      The trial of this case may last up to [] weeks. The jury will sit [] from
     approximately []. The Court will not sit on Martin Luther King Day, which is Monday,
     January 15. All jury service involves some degree of hardship. Would service as a juror
     in this case be a serious hardship for you?

                􀜆 Yes              􀜆 No

     If yes, please explain why serving on the jury for this case would cause you a serious
     hardship:

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     Please note: In the event you are excused from service on this jury, you will not be
     excused from jury service in general. You will instead be required to report to the
     Court’s Jury Clerk for placement on another panel for another case.

     I swear (or affirm) that all of the answers provided above are truthful.




     Juror Number




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